CaS€ 1-17-46412-0€0 DOC 3 Filed 11/30/17 Entered 11/30/17 15207:43

 

 

 

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CERTIFICATE OF COUNSELING

l CERTIFY that en November 20 2017, at 2132 O‘elock PM EST, Renee
Masiil<h<)v received from Corxsumer Edtle§tion Services., lnc. DBA Start Fresh
Tod§V/DBA Affordable Bzmkrupte\/ Ceur$e, an agency approved pursua§t to 1 l
U.SiC. § 111 to previde Credit munselng in the Bastem District Of New Y<)rk, an
individual ibt group1 briefing that Cotnplied with the previeiens of 11 U.S.C. §§
109(1'1)§11<:1 iii.

 

A debt repayment plan Was not g regared. lt` § debt repayment plan Was prepared, a
eopy of the debt repayment plan is attached to this certificate

Thi$ munselng Session Was eonducted by internet.

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